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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

THE ESTATE OF                       *
ANDREA S. PARHAMOVICH, et. al.,     *
     Plaintiffs,                    *
                                    *
     v.                             *           Case No. 1:17-CV-0061 (KBJ)
                                    *
ISLAMIC REPUBLIC                    *
OF IRAN, et al.,                    *
                                    *
      Defendants.                   *
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      [FILED UNDER SEAL PENDING
     COURT’S RULING ON PLAINTIFFS’
       MOTION FOR LEAVE TO FILE
        DOCUMENTS UNDER SEAL]
